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                                       District Judge Daybook Entry
United States District Court - Southern District of West Virginia at Charleston
Date: 6/10/2016                                                                 Case Number 2:16-cv-00290
Case Style: EQT Production Company vs. Wender
Type of hearing Preliminary Injunction Hearing
Before the honorable: 2508-Copenhaver
Court Reporter Catherine Schutte-Stant                                          Courtroom Deputy
Attorney(s) for the Plaintiff or Government Timothy Miller,Christopher Power


Attorney(s) for the Defendant(s) Thomas Rist,Derek Teaney


Law Clerk RBMcC                                                               Probation Officer
                                                         Trial Time




                                                     Non-Trial Time
Other non-evidentiary hearing. Type: Scheduling hearing



                                                        Court Time
2:08    to 2:14
Total Court Time: 0 Hours 6 Minutes Non-Trial Time/Uncontested Time


                                                     Courtroom Notes
START: 2:08

The parties agreed to confer regarding various potential stipulations. A conference call was set for 10:00 AM on Friday
the 17th of June.

STOP: 2:14
